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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION



 FRANK CARBONE, et al., individually and on behalf
 of all others similarly situated,

                                 Plaintiffs,
                                                                Case No.: 22-cv-00125
                                 v.

 BROWN UNIVERSITY, et al.,                                      Hon. Matthew F. Kennelly

                                 Defendants.


                                      JOINT STATUS REPORT

         The parties submit the following joint status report pursuant to Case Management Order 1

(ECF 195).

I.       The Status of Discovery

         On October 19, the parties served their objections and responses to the first set of discovery

requests. On November 3, the parties held a meet and confer regarding Plaintiffs’ objections to the

Defendants’ first set of discovery requests. On November 4, the parties held a meet and confer

regarding Defendants’ objections to Plaintiffs’ requests for production. On November 7, Plaintiffs

served a second set of requests for production.

         The Parties have also exchanged lists of proposed custodians and non-custodial sources of

documents, pursuant to paragraphs V(A) and (B) of the draft ESI Protocol Order. Plaintiffs have

requested a series of individualized meet and confers with each Defendant university regarding

custodians of documents, and have requested that those occur between November 8 and 11.




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Defendants have also requested a meet and confer with Plaintiffs regarding their list of proposed

custodians and non-custodial sources of documents.

          On November 2, Defendants sent plaintiffs a list of proposed search terms pursuant to

paragraph VI(D) of the proposed ESI Protocol Order.

II.       The Parties’ Respective Positions on Any Discovery Disputes That Have Become Ripe

          As noted above, the Parties are in the process of meeting and conferring on a variety of

issues, but there are presently no disputes that are ripe for resolution aside from those in Section

IV below. Plaintiffs have proposed that parties will report back to the Court by November 30.

III.      The Parties’ Positions on Mediation

          A.     Plaintiffs’ Position

          Consistent with their longstanding proposal to use a nationally recognized mediator, first

made in February 2022, Plaintiffs have discussed confidential mediation with certain counsel and

intend to go forward with those defendants that are interested in or before January 2023; certain

parties are discussing potential mediators and Plaintiffs expect agreement on a mediator by

November 15.

          B.     Defendants’ Position

          Consistent with the direction given by the Court at the initial status conference, Defendants

raised the subject of mediation with Plaintiffs on October 28. Defendants are amenable to

discussing potential mediation, including exchanging lists of possible mediators, with Plaintiffs by

November 15.

IV.       ESI Protocol Order

          As reported to the Court on October 14 (ECF 222), the parties have reached agreement,

through meeting and conferring in good faith over the last several weeks, on most aspects of the



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proposed Order Regarding Production of Electronically Stored Information and Paper Documents

(the “ESI Protocol Order”). However, there are two discrete issues on which the Parties have not

reached agreement: (a) preservation of certain categories of materials, and (b) privilege log

requirements. The Parties’ positions on those disputed issues are set forth below. A version of

the proposed ESI Protocol Order with the provisions in dispute highlighted is attached as Exhibit

A, and the parties will separately email to chambers their proposed versions of the ESI Protocol

Order.

         A.     Preservation

                1.      Plaintiffs’ Position

         Defendants should preserve their public-facing websites relating to financial aid and

admissions. Defendants are in the best position to have records of all website updates, as they are

in sole control of such media. Defendants’ proposed alternative for Plaintiffs to obtain historical

website data from third-party web archival sources (such as the Wayback Machine) is not

reasonable, as the data available is scattershot and random and could be challenged for its

authenticity by Defendants (Best Evidence rule).

         Defendants should preserve all backup media that could potentially house responsive

materials. Recognizing the possible burden of producing documents from backup media, Plaintiffs

are requesting only the preservation of these backups at present, and reserving their right to request

production at a later date.      The importance of preserving this historical backup media is

underscored by reporting that at least some Defendants have implemented policies to

systematically delete Admissions records as a liability avoidance strategy.1             This reporting


1
 Nora Fellas, I Viewed My Vandy Admissions File And Learned Nothing, THE VANDERBILT HUSTLER
(Dec. 9, 2020), available at https://vanderbilthustler.com/2020/12/09/fellas-i-viewed-my-vandy-
admissions-file-and-learned-nothing/ (“Many of Vanderbilt’s peer institutions have taken to deleting files


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suggests that backup media may be the only source for much of the evidence relevant to Plaintiffs’

allegations. Destruction or deletion of backup media could well be irreparable.

        Where backup media may reasonably contain relevant, discoverable information, potential

litigants have long been on notice of their duty to preserve those backups. See Zubulake v. UBS

Warburg LLC, 220 F.R.D. 212, 220–21 (S.D.N.Y. 2003). A party that fails to preserve backup

media that was available at the onset of litigation (when the party “was unquestionably on notice

of its duty to preserve”) is grossly negligent at best, if not reckless. Id.; accord Jones v. Bremen

High Sch. Dist. 228, No. 08 C 3548, 2010 WL 2106640, at *7 (N.D. Ill. May 25, 2010)

(“[A]lthough defendant may not have had a duty before the lawsuit was filed to cease the

overwriting of the backup tapes, it certainly had a duty to preserve [backup tapes] when it was first

notified [of the litigation] . . . . [D]efendant’s technology department could have easily halted the

auto-deletion process and asked all employees who supervised plaintiff . . . to preserve

information. In fact, defendant did just that with apparently minimal effort beginning in October

2008.”). Defendants fervently protest the burden of preserving, restoring, and searching data from

backup sources. This merely underscores Plaintiffs’ position: Unless Defendants can represent




and records pertaining to accepted students in anticipation of requests in order to avoid sharing their actual
comments or any of the “holistic” sausage-making of the admissions process. Following a sudden influx of
requests in 2015, for example, Stanford changed its policy and began deleting many materials it would
previously have kept. And in response to both the Varsity Blues scandal and the recent lawsuit against
Harvard, in which unsuccessful applicants accused the school of racism in its admissions process, many
schools have shied away from sharing information in order to avoid the possibility that it be submitted as
evidence in a lawsuit.”); see also Nels Lindquist, Columbia Office Of Undergraduate Admissions Destroys
Records Of Assessments Made By Application Readers, COLUMBIA SPECTATOR (July 2, 2016), available
at       https://www.columbiaspectator.com/news/2015/04/10/columbia-office-undergraduate-admissions-
destroys-records-assessments-made/; Michael Gioia, First Students Gain Access To Their Admissions Files
Through       Ferpa    Provision,    The     Stanford     Daily    (Mar.     9,     2015),    available     at
https://stanforddaily.com/2015/03/09/first-students-gain-access-to-their-admissions-files-through-ferpa-
provision/.

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with certainty that the backup media at issue do NOT contain relevant, discoverable information,

any failure to preserve invokes a legitimate question of spoliation.

               2.      Defendants’ Position

       Paragraph I(F) of the ESI Protocol identifies certain categories of information that are not

routinely preserved and that the parties are not required to take steps to preserve, due to the fact

that they are not likely to contain relevant information, or are otherwise not reasonably accessible

because of undue burden or cost. The parties are at odds over Plaintiffs’ position that public-facing

financial aid and admissions websites, and data housed on emergency back-up systems, should be

excluded from those categories. ESI Protocol ¶ I(F)(3) & (5).

       (a) Data Housed on Emergency Back-Up Systems

       Plaintiffs’ position is, in essence, that Defendants should be required to suspend the

routine operation of their emergency back-up systems for their entire IT infrastructures, for the

duration of this litigation, even where the Party is not aware of those systems containing any

unique responsive information. Plaintiffs’ position is untenable and directly at odds with the

proportionality and efficiency principles underlying the Federal Rules, and the case law applying

those principles.

       Rule 26(b)(5) expressly provides that ESI from sources that are “not reasonably

accessible because of undue burden or cost” is not discoverable. Courts in this Circuit (and

elsewhere) have therefore expressly categorized emergency back-ups as “not reasonably

accessible” within the scope of Rule 26(b)(5). See, e.g., Clean Harbors Env’t Servs., Inc. v.

ESIS, Inc., No. 09 C 3789, 2011 WL 1897213, at *2 (N.D. Ill. May 17, 2011) (“Courts have

already agreed that when information is stored on backup tapes, it is ‘likened to paper records

locked inside a sophisticated safe to which no one has the key or combination.’ ESIS has given



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us no reason believe that the information on the backup tapes in this case would be more easily

accessible.”); United States v. Amerigroup Illinois, Inc., No. 02 C 6074, 2005 WL 3111972, at

*3 (N.D. Ill. Oct. 21, 2005); Hagemeyer North America, Inc. v. Gateway Data Sciences Corp.,

222 F.R.D. 594, 600 (E.D.Wis.2004) (“In the hierarchy of accessibility, it is clear that electronic

data stored on media such as the backup tapes involved here is near the bottom. One of the

reasons for the difficulty involved in searching backup tapes is that they store infinitely more

information than most other storage media. For example, a CD-ROM’s storage capacity is 650

megabytes, the equivalent of 325,000 typewritten pages. Computer networks, on the other hand,

create backup data measured in terabytes-1,000,000 megabytes-which is the equivalent of 500

billion typewritten pages.”).

       Given this fact, Plaintiffs’ insistence that Defendants immediately cease the routine

cycling of emergency back-ups is unreasonable. Because of the burden and cost of maintaining

that storage media, and that there is generally not a need to maintain multiple copies of backups

over an extended period of time, backup media is frequently overwritten – e.g. after 30 days, a

party will overwrite the next backup onto the earliest existing backup, so that backup media is

constantly being recycled. Under Plaintiffs’ proposal, Defendants would be required to cease

their ordinary backup operations and begin maintaining, for an undetermined period of years,

every single emergency backup. That would be extraordinary costly and not at all proportional

to the needs of the case, particularly in the absence of any reason to believe that there is

responsive information that exists only on such emergency backup systems.

       Finally, Plaintiffs also reference Defendants’ routine document retention policies, which

were in place prior to this litigation and are a recommended best practice for any sizable

organization (not a “litigation avoidance strategy,” as Plaintiffs nefariously describe them). But



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the mere existence of records management policies does not justify Plaintiffs’ burdensome

preservation proposal. Indeed, Plaintiffs provide no basis to conclude that Defendants’

emergency back-up systems are likely to contain historical information concerning admissions

files (let alone be the sole source of such information).

       (b) Websites

       Plaintiffs’ position that each defendant must preserve all documentation of public-facing

financial aid and admissions websites is inconsistent with Defendants’ obligations under Rule

26(b). It is disproportionate to the needs of the case to preserve Defendants’ financial and

admissions websites, which are frequently-changing, public facing websites, given that any

probative information on these websites will likely be preserved in other formats. Courts have

found it unduly burdensome and disproportionate to the needs of the case to require Defendants

to produce documents, particularly navigable copies of websites, that are publicly available. See,

e.g., Cty. of Cook v. Bank of Am., 2019 WL 6309925 at *3 (N.D. Ill. Nov. 25, 2019)

(“Considering the parties’ equal access to [the documents] and the relative burdens of locating

and collecting the [documents],” finding “it unduly burdensome and not proportional to the

needs of the case to require Defendants to produce [documents] that are publicly available.”);

City of Fort Lauderdale v. Scott, 2012 WL 13075227 at *3 (S.D. Fla. May 17, 2012) (denying

document requests and noting that Plaintiffs had online access to the relevant documents and, if

they were inclined, could themselves incur the burden of search). And because these websites are

updated frequently, it is impractical to preserve each potential iteration of the site. See P. Stephen

Gidiere III, The Federal Information Manual, § 6.7 The Preservation of Electronic Federal

Records (ABA 2013) (“Web pages are (and should be) updated frequently, and previous versions

of pages may not be preserved as a practical matter (much like editing a document in a word



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processing program).”). Specifically, it is not practical, necessary, or proportionate to preserve an

entire site each time a new photo is added, a graphic is changed, or a staff directory is updated.

       Courts have recognized that the relative burden of producing navigable copies of

websites may be unduly expensive and burdensome when compared to the ability of the non-

producing party to peruse such publicly available websites. See, e.g., Am. Civil Liberties Union

v. Gonzales, 2005 WL 8178699 at *3 (E.D. Pa. Dec. 22, 2005). Courts have further expressed

concern that preservation of frequent changing websites may be particularly burdensome. See

Stanford Hospitals & Clinics v. Service Employees Int’l Union, Local 715, 2008 WL 4532557 at

*2 (N.D. Cal. Oct. 8, 2008). Here, the probative information on Defendants’ financial aid and

admissions websites can be preserved in other formats due to extensive discovery of Defendants’

internal financial aid and admissions documents. Therefore, “the burden or expense of

[preserving these sources] outweighs its likely benefit.” Rule 26(b)(1). Plaintiffs’ position fails to

acknowledge the relative burdens and costs of preserving frequently-changing public website

information that is equally accessible to Plaintiffs.

       Plaintiffs acknowledge the existence of the Internet Archive but argue that Defendants

might object to use of pages from the Internet Archive. In their motion to dismiss, Defendants

affirmatively cited the Internet Archive as something of which the Court can take judicial notice.

Plaintiffs also argue that the Internet Archive’s preservation efforts are episodic. In reality, there

is no reason to believe that ongoing recording of changes to Defendants’ webpages will not meet

Plaintiffs’ preservation needs in a way that is proportional.

       B.      Privilege Log and Redactions

               1.      Plaintiffs’ Position




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       Defendants should identify the represented parties in their privilege logs and should include

full privilege log entries for all documents either withheld or redacted on the basis of privilege.

Plaintiffs require information about the privilege claimed and the nature of the document sufficient

to evaluate the claim of privilege as required by Fed. R. Civ. P. 26(b)(5)(A). The remaining context

of redacted documents and communications does not provide adequate information to assess the

claim of privilege, where the claimed protection is specifically applicable only to the text that has

been redacted. See St. Paul Guardian Ins. Co. v. Walsh Constr. Co., No. 15-CV-10324, 2021 WL

4745385, at *5 (N.D. Ill. Oct. 12, 2021), objections overruled, No. 1:15-CV-10324, 2022 WL

1642311 (N.D. Ill. Mar. 30, 2022) (when “privilege log entries provide so little information in their

description” that parties and the Court are prevented from understanding “how any claimed

privileges may apply. … any [redacted] documents for which [a party has] provided no description

in the privilege log … fail to even attempt compliance with Rule 26(b)(5).”). Any attempt to infer

context and assess the privilege based on the visible text would be speculation. Moreover,

Defendants are clearly in a better position to know who among a list of names is or is not an

attorney, and therefore should identify the attorneys. (Because Defendants will be granularly

evaluating documents and applying privilege redactions, any additional burden of logging the

nature of the privilege claimed is minimal.)

               2.      Defendants’ Position

       Plaintiffs’ position that Defendants should be required to log every redaction – even

where the face of the document otherwise provides all the information necessary to assess the

privilege claim – is not required by the Federal Rules and would impose on Defendants

significant cost for no discernable benefit.




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       The parties are in agreement that if a document is withheld from production in its

entirety, the withholding party will provide a privilege log; otherwise, there is no way for the

other party to discern what documents are being withheld and the basis for the privilege. The

same is not true, however, with regard to documents that are produced, but with discrete

privileged information in the document redacted. Under Defendants’ proposal (see Ex. A ¶

VI(E)), where privileged information is redacted from a document that is produced, but

information sufficient to demonstrate the basis for the assertion of privilege is apparent from the

unredacted portions of the document (e.g. e-mail sender, recipients, date, and subject), the parties

need not separately log such documents. Additionally, the parties will identify in a metadata

field which documents contain privilege redactions so that the entire universe of such documents

can be readily identified and analyzed using standard e-discovery software. Moreover, in the

event that a party contends that they still cannot discern the basis for the privilege from the

unredacted information in the document, the party then may request that the document be logged.

       Plaintiffs’ position is that every privilege redaction must be logged in the first instance –

even where the basis for the assertion of privilege is readily apparent from the face of the

document. That is not required by the rules, and is unduly burdensome. “There is no

requirement that defendants compile all explanations of privilege or other bases for withholding

information in a single log.” Graham v. Mukasey, 247 F.R.D. 205, 207 (D.D.C. 2008). “There is

also no need, and the federal rules do not require a defendant, to create a log that describes the

author, the date, the type of document, and so on, when the requesting party can see that

information simply by looking at the document.” Id. See also Clark v. Edison, No. CIV.A. 09-

40040-FDS, 2010 WL 3245428, at *3 (D. Mass. Aug. 16, 2010)(“Generally, a party does not




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need to provide information concerning the type, date, and author of a document where such

information is obvious from the document’s title.”).

       Under Rule 26(b)(5), a party withholding otherwise discoverable information need only:

1) “expressly make” the privilege claim and 2) “describe the nature of the documents,

communications, or tangible things not produced or disclosed… in a manner that…will enable

other parties to assess the claim.” Fed. R. Civ. P. 26(b)(5). Defendants’ proposed approach does

precisely this. If a party redacts a document on the basis of privilege, that will be expressly

noted and included in the metadata, allowing every other party to readily identify that universe of

documents. Moreover, Defendants’ proposal expressly states that logging is not required only

where information sufficient to discern the basis for the privilege log is apparent from the

unredacted portions of the document. And if the opposing party believes that further information

is required, it need only ask.

       In virtually all cases, the information necessary to provide the basis for the privilege will

be apparent from the unredacted portions of the document, making creation of a separate log

unnecessary make-work. Furthermore, logging individual redactions in the first instance is

unnecessarily burdensome, because such logs frequently cannot be automatically generated from

review platforms -- such as where portions of an e-mail string are redacted. The Sedona

Conference, the country’s leading forum on electronic discovery, has explained that “[e]ven if

there are relatively few privileged documents, preparing and reviewing a privilege log can be

extremely time-consuming. Often, the privilege log is of marginal utility. The immense volume




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of ESI now subject to discovery exacerbates the problem.”2 The Sedona Conference endorses

the contours of the proposal made by Defendants here.3

        Finally, the ESI Protocol identifies numerous specific categories of information that will

be included on a log, including identifying specifically which parties to a communication are

attorneys. See ¶ VI(A). Plaintiffs insistence that Defendants also specify, for each such entry,

“what Party each such attorney represents” is not required by the Federal Rules and is

unnecessary make-work. If Plaintiffs believe any privilege log entry does not sufficiently

“describe the nature of the documents, communications, or tangible things not produced or

disclosed . . . in a manner that . . . will enable other parties to assess the claim,” whether because

they claim not to understand who the attorney represents or for any other reason, they are free to

raise that issue with the other party. Fed. R. Civ. P. 26(b)(5)(ii).



Dated: November 7, 2022                        Respectfully submitted,


By: /s/ Edward J. Normand                        By: /s/ Kenneth Kliebard
Devin “Vel” Freedman                             Kenneth Kliebard
Edward J. Normand                                MORGAN, LEWIS & BOCKIUS LLP
Peter Bach-y-Rita                                110 North Wacker Drive
FREEDMAN NORMAND                                 Suite 2800
   FRIEDLAND LLP                                 Chicago, IL 60606-1511
99 Park Avenue                                   Tel: 312-324-1000
Suite 1910                                       kenneth.kliebard@morganlewis.com
New York, NY 10016

2
 The Sedona Principles, Third Edition: Best Practices, Recommendations & Principles for
Addressing Electronic Document Production (2018), at 81
3
  The Sedona Conference Commentary on Protection of Privileged ESI (2016), at 163-164 (“If the
author, recipient, and subject information within the email chain is also left unredacted (so that
this information is available for lower emails in the thread), it seems that a privilege log would be
largely redundant of information already available within the document and supplied in the
metadata. . . . [O]pposing parties’ Rule 26(b)(5)(A) concerns may be able to be addressed by
including some type of privilege claim field with the produced metadata or, depending on the
technology available, inserting a short description of the privilege claim within the redaction box.”)

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Tel: 646-970-7513                     Jon R. Roellke
vel@fnf.law                           MORGAN, LEWIS & BOCKIUS LLP
tnormand@fnf.law                      1111 Pennsylvania Avenue, NW
pbachyrita@fnf.law                    Washington, DC 20004-2541
                                      Tel: 202-739-5754
Robert D. Gilbert                     jon.roellke@morganlewis.com
Elpidio Villarreal
Alexis Marquez                        Sujal Shah
GILBERT LITIGATORS &                  MORGAN, LEWIS & BOCKIUS LLP
COUNSELORS, P.C.                      One Market, Spear Street Tower, 28th Floor
11 Broadway, Suite 615                San Francisco, CA 94105-1596
New York, NY 10004                    Tel: 415-442-1386
Tel: 646-448-5269                     sujal.shah@morganlewis.com
rgilbert@gilbertlitigators.com
pdvillarreal@gilbertlitigators.com    Counsel for Defendant Brown University
amarquez@gilbertlitigators.com
                                      By: /s/ Deepti Bansal
Eric L. Cramer                        Deepti Bansal
Caitlin G. Coslett                    Alexander J. Kasner
BERGER MONTAGUE PC                    COOLEY LLP
1818 Market Street, Suite 3600        1299 Pennsylvania Avenue, NW
Philadelphia, PA 19103                Suite 700
Tel: 215-875-3000                     Washington, DC 20004-2400
ecramer@bm.net                        Tel: 202-728-7027
ccoslett@bm.net                       dbansal@cooley.com
                                      akasner@colley.com
Daniel J. Walker
Robert E. Litan                       Matthew Kutcher
Hope Brinn                            COOLEY LLP
BERGER MONTAGUE PC                    110 N. Wacker Drive
2001 Pennsylvania Avenue, NW          Chicago, IL 60606
Suite 300                             Tel: 312-881-6500
Washington, DC 20006                  mkutcher@cooley.com
Tel: 202-559-9745
rlitan@bm.net                         Counsel for Defendant California Institute of
dwalker@bm.net                        Technology
hbrinn@bm.net
                                      By: /s/ James L. Cooper
Counsel for Plaintiffs                James L. Cooper
                                      Michael Rubin
                                      ARNOLD & PORTER KAYE SCHOLER LLP
                                      601 Massachusetts Ave, NW
                                      Washington, DC 20001-3743
                                      Tel: 202-942-5014
                                      james.cooper@arnoldporter.com
                                      michael.rubin@arnoldporter.com

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                                     Leah Harrell
                                     ARNOLD & PORTER KAYE SCHOLER LLP
                                     250 West 55th Street
                                     New York, NY 10019-9710
                                     Tel.: 212-836-7767
                                     Leah.Harrell@arnoldporter.com

                                     Valarie Hays
                                     ARNOLD & PORTER KAYE SCHOLER LLP
                                     70 W Madison Street
                                     Suite 4200
                                     Chicago, IL 60602
                                     Tel.: 312-583-2440
                                     valarie.hays@arnoldporter.com

                                     Counsel for Defendant University of Chicago

                                     By: /s/ Patrick Fitzgerald
                                     Patrick Fitzgerald
                                     Amy Van Gelder
                                     SKADDEN, ARPS, SLATE, MEAGHER &
                                     FLOM LLP
                                     155 N. Wacker Drive
                                     Chicago, IL 60606-1720
                                     Tel: 312-407-0508
                                     patrick.fitzgerald@skadden.com
                                     amy.vangelder@skadden.com

                                     Karen Hoffman Lent
                                     SKADDEN, ARPS, SLATE, MEAGHER &
                                     FLOM LLP
                                     One Manhattan West
                                     Room 40-216
                                     New York, NY 10001-8602
                                     Tel: 212-735-3276
                                     karen.lent@skadden.com

                                     Counsel for Defendant The Trustees of
                                     Columbia University in the City of New York

                                     By: /s/ Norm Armstrong
                                     Norm Armstrong
                                     Christopher Yook
                                     KING & SPALDING LLP
                                     1700 Pennsylvania Avenue, NW

                                                                                   14
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                                     Suite 200
                                     Washington, D.C. 20006
                                     Tel.: 202-626-8979
                                     narmstrong@kslaw.com
                                     cyook@kslaw.com

                                     Emily Chen
                                     KING & SPALDING LLP
                                     1185 Avenue of the Americas
                                     34th Floor
                                     New York, NY 10036
                                     Tel: 212-556-2224
                                     echen@kslaw.com

                                     Zachary T. Fardon
                                     KING & SPALDING LLP
                                     110 N Wacker Drive
                                     Suite 3800
                                     Chicago, IL 60606
                                     312 764 6960
                                     zfardon@kslaw.com

                                     Counsel for Defendant Cornell University

                                     By: /s/ Terri L. Mascherin
                                     Terri L. Mascherin
                                     Reid J. Schar
                                     JENNER & BLOCK LLP
                                     353 N. Clark Street,
                                     Chicago, IL 60654-3456
                                     Tel: 312-222-9350
                                     tmascherin@jenner.com
                                     rschar@jenner.com

                                     Ishan K. Bhabha
                                     Douglas E. Litvack
                                     Lauren J. Hartz
                                     JENNER & BLOCK LLP
                                     1099 New York Avenue, NW
                                     Suite 900
                                     Washington, DC 20001-4412
                                     Tel: 202-637-6327
                                     ibhabha@jenner.com
                                     dlitvack@jenner.com
                                     lhartz@jenner.com



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                                     Counsel for Defendant Trustees of Dartmouth
                                     College

                                      /s/ Christopher D.
                                      Dusseault
                                      Christopher Dean Dusseault*
                                      Jacqueline Sesia*
                                      Gibson, Dunn & Crutcher LLP
                                      333 South Grand Avenue
                                      Los Angeles, CA 90071
                                      Tel: (213) 229-7855
                                      Email: cdusseault@gibsondunn.com
                                      Email: jsesia@gibsondunn.com

                                      Rachel Susan Brass*
                                      Gibson, Dunn & Crutcher LLP
                                      555 Mission Street, Suite 3000
                                      San Francisco, CA 94105
                                      Tel: (415) 393-8200
                                      Email: rbrass@gibsondunn.com

                                      James A. Morsch
                                      Elizabeth Anne Thompson
                                      Nicholas W. Collins
                                      Saul Ewing Arnstein & Lehr
                                      161 N. Clark Street
                                      Chicago, IL 60601
                                      Tel: (312) 876-7810
                                      Email: jim.morsch@saul.com
                                      Email: elizabeth.thompson@saul.com
                                      Email: nicholas.collins@saul.com

                                     Attorneys for Defendant Duke University

                                      Tina M. Tabacchi
                                      JONES DAY
                                      110 North Wacker Dr.
                                      Suite 4800
                                      Chicago, IL 60606
                                      312.782.3939
                                      tmtabacchi@jonesday.com

                                      Craig A. Waldman
                                      Hashim M. Mooppan
                                      Christopher N. Thatch
                                      JONES DAY

                                                                                   16
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                                      51 Louisiana Ave., N.W.
                                      Washington, DC 20001
                                      202.879.3939
                                      cwaldman@jonesday.com
                                      hmmooppan@jonesday.com
                                      cthatch@jonesday.com

                                      Attorneys for Defendant Emory University


                                     By: /s/ Britt M. Miller
                                     Britt M. Miller
                                     Daniel T. Fenske
                                     Jed W. Glickstein
                                     MAYER BROWN LLP
                                     71 South Wacker Drive
                                     Chicago, IL 60606
                                     Tel: 312-783-0600
                                     bmiller@mayerbrown.com
                                     dfenske@mayerbrown.com
                                     jglickstein@mayerbrown.com

                                     Counsel for Defendant Georgetown University

                                      By: /s/ Jeffrey J. Bushofsky

                                      Jeffrey J. Bushofsky
                                      ROPES & GRAY LLP
                                      191 North Wacker Drive 32nd Floor
                                      Chicago, IL 60606-4302
                                      Tel: 312-845-1200
                                      jeffrey.bushofsky@ropesgray.com

                                      Chong S. Park
                                      Samer M. Musallam
                                      ROPES & GRAY LLP
                                      2099 Pennsylvania Avenue, NW
                                      Washington, DC 20006-6807
                                      Tel: 202-508-4600
                                      chong.park@ropesgray.com
                                      samer.musallam@ropesgray.com

                                      Counsel for Defendant Johns Hopkins
                                      University

                                      By: /s/ Eric Mahr

                                                                                   17
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                                      Eric Mahr
                                      Jan Rybnicek
                                      Daphne Lin
                                      FRESHFIELDS BRUCKHAUS DERINGER
                                      US LLP
                                      700 13th Street, NW
                                      Washington, DC 20005
                                      Tel: 202-777-4500
                                      eric.mahr@freshfields.com
                                      jan.rybnicek@freshfields.com
                                      daphne.lin@freshfields.com

                                      Counsel for Defendant Massachusetts Institute
                                      of Technology

                                     By: /s/ Scott D. Stein
                                     Scott D. Stein
                                     Benjamin R. Brunner
                                     Kelsey Annu-Essuman
                                     SIDLEY AUSTIN LLP
                                     1 South Dearborn Street
                                     Chicago, IL 60603
                                     Tel.: 414-559-2434
                                     sstein@sidley.com
                                     bbrunner@sidley.com
                                     kannuessuman@sidley.com

                                     Counsel for Defendant Northwestern
                                     University

                                     By: /s/ Robert A. Van Kirk
                                     Robert A. Van Kirk
                                     Cole T. Wintheiser
                                     Jonathan Pitt
                                     Matthew D. Heins
                                     Sarah F. Kirkpatrick
                                     WILLIAMS & CONNOLLY LLP
                                     725 Twelfth Street, N.W.
                                     Washington, D.C. 20005
                                     Tel: 202-434-5163
                                     rvankirk@wc.com
                                     cwintheiser@wc.com
                                     jpitt@wc.com
                                     mheins@wc.com
                                     skirkpatrick@wc.com



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                                     James Peter Fieweger
                                     MICHAEL BEST & FRIEDRICH LLP
                                     444 West Lake Street
                                     Suite 3200
                                     Chicago, IL 60606
                                     Tel.: 312-222-0800
                                     jpfieweger@michaelbest.com

                                     Counsel for Defendant University of Notre
                                     Dame du Lac

                                     By: /s/ Seth Waxman
                                     Seth Waxman
                                     WILMER CUTLER PICKERING HALE
                                     AND DORR LLP
                                     1875 Pennsylvania Avenue NW
                                     Washington, DC 20006
                                     Tel: 202-663-6800
                                     seth.waxman@wilmerhale.com

                                     David Gringer
                                     Alan Schoenfeld
                                     WILMER CUTLER PICKERING HALE
                                     AND DORR LLP
                                     7 World Trade Center
                                     250 Greenwich Street
                                     New York, NY 10007
                                     Tel: 212-937-7294
                                     david.gringer@wilmerhale.com
                                     alan.schoenfeld@wilmerhale.com

                                     Daniel Martin Feeney
                                     Edward W. Feldman
                                     MILLER SHAKMAN LEVINE & FELDMAN
                                     LLP
                                     180 North LaSalle Street
                                     Suite 3600
                                     Chicago, IL 60601
                                     Tel.: 312-263-3700
                                     dfeeney@millershakman.com
                                     efeldman@millershakman.com

                                     Counsel for Defendant The Trustees of the
                                     University of Pennsylvania

                                     By: /s/ Norm Armstrong

                                                                                 19
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                                     Norm Armstrong
                                     Christopher Yook
                                     KING & SPALDING LLP
                                     1700 Pennsylvania Avenue, NW
                                     Suite 200
                                     Washington, D.C. 20006
                                     Tel.: 202-626-8979
                                     narmstrong@kslaw.com
                                     cyook@kslaw.com

                                     Emily Chen
                                     KING & SPALDING LLP
                                     1185 Avenue of the Americas
                                     34th Floor
                                     New York, NY 10036
                                     Tel: 212-556-2224
                                     echen@kslaw.com

                                     Zachary T. Fardon
                                     KING & SPALDING LLP
                                     110 N Wacker Drive
                                     Suite 3800
                                     Chicago, IL 60606
                                     312 764 6960
                                     zfardon@kslaw.com

                                     Counsel for Defendant William Marsh Rice
                                     University

                                     By: /s/ J. Mark Gidley
                                     J. Mark Gidley
                                     WHITE & CASE LLP
                                     701 Thirteenth Street, NW
                                     Washington, DC 20005-3807
                                     Tel: 202-626-3600
                                     mgidley@whitecase.com

                                     Robert A. Milne
                                     David H. Suggs
                                     WHITE & CASE LLP
                                     1221 Avenue of the Americas
                                     New York, NY 10020-1095
                                     Tel: 212-819-8200
                                     rmilne@whitecase.com
                                     dsuggs@whitecase.com



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                                     Counsel for Defendant Vanderbilt University

                                     By: /s/ Charles A. Loughlin
                                     Charles A. Loughlin
                                     Benjamin F. Holt
                                     HOGAN LOVELLS US LLP
                                     555 Thirteenth Street, NW
                                     Washington, DC 20004-1109
                                     Tel: 202-637-5600
                                     chuck.loughlin@hoganlovells.com
                                     benjamin.holt@hoganlovells.com

                                     Stephen Novack
                                     Stephen J. Siegel
                                     Serena G. Rabie
                                     NOVACK AND MACEY LLP
                                     100 North Riverside Plaza, 15th Floor
                                     Chicago, IL 60606-1501
                                     Tel.: 312-419-6900
                                     snovack@novackmacey.com
                                     ssiegel@novackmacey.com
                                     srabie@novackmacey.com

                                     Counsel for Defendant Yale University




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